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            EXHIBIT A
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Elovecky, Suzanne M.

From:                             Elovecky, Suzanne M.
Sent:                             Tuesday, February 9, 2021 4:29 PM
To:                               Drew Epstein; mgreene@boyleshaughnessy.com
Subject:                          RE: [EXTERNAL] Larson v Dorland-Perry - Notice of Deposition


Drew,

I understand the temptation to turn this into a tit-for-tat, but I made my production months ago, and you did not ask for
a 7.1 conference, and you raised no issues at that time, or at any time until legitimate rules-based issues were raised
about YOUR production. Further, what is required to be produced are documents in my client’s possession, custody and
control. Facebook does not create lists of members of groups with dates admitted, and neither did my client – there is
no such document to produce. No matter what color you use to highlight your email.



From: Drew Epstein <photolaw@aol.com>
Sent: Tuesday, February 9, 2021 10:56 AM
To: Elovecky, Suzanne M. <selovecky@psh.com>; mgreene@boyleshaughnessy.com
Subject: Re: [EXTERNAL] Larson v Dorland-Perry - Notice of Deposition



        Where is the list of people who were on Dorland's "semi-public" or so-called "private" Facebook page and
        the dates they were admitted to the group?



Drew Epstein

Andrew D. Epstein
Barker, Epstein & Loscocco
176 Federal Street
Boston, MA 02110
(617) 482-4900
Cell: (617) 272-5700


-----Original Message-----
From: Elovecky, Suzanne M. <selovecky@psh.com>
To: Drew Epstein <photolaw@aol.com>; mgreene@boyleshaughnessy.com <mgreene@boyleshaughnessy.com>
Sent: Tue, Feb 9, 2021 10:54 am
Subject: RE: [EXTERNAL] Larson v Dorland-Perry - Notice of Deposition

Drew,

I’m not coming to conclusions, I asked for a response to my email, which is the manner in which we agreed to continue
the 7.1 conference that we started via telephone.




From: Drew Epstein <photolaw@aol.com>
Sent: Tuesday, February 9, 2021 10:51 AM

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To: Elovecky, Suzanne M. <selovecky@psh.com>; mgreene@boyleshaughnessy.com
Subject: Re: [EXTERNAL] Larson v Dorland-Perry - Notice of Deposition

Why not review what I mailed yesterday before you come to conclusions. Many of the subpoenaed
documents are duplicative of what we produced. How many copies of the same short story do you
need? This case does not warrant the production of more documents even if they exist. We all have
1000's of pages to review. The burden to prove my defamation and intentional interference claims is on
me. Did you produce all the docs you have on the subject? Where is the list of people who were on
Dorland's "semi-public" or so-called "private" Facebook page and the dates they were admitted to the
group?

I will check with Sonya Larson but I believe she is available on Friday, Feb. 19, with the Cohen Defendants
on Feb. 23 and Dorland on Feb. 25 or 26. According to my calendar, discovery ends on Feb. 28.


Drew Epstein

Andrew D. Epstein
Barker, Epstein & Loscocco
176 Federal Street
Boston, MA 02110
(617) 482-4900
Cell: (617) 272-5700


-----Original Message-----
From: Elovecky, Suzanne M. <selovecky@psh.com>
To: Drew Epstein <photolaw@aol.com>; mgreene@boyleshaughnessy.com <mgreene@boyleshaughnessy.com>
Sent: Mon, Feb 8, 2021 7:22 pm
Subject: Re: [EXTERNAL] Larson v Dorland-Perry - Notice of Deposition

Drew,

Your client has brought claims of defamation and intentional interference against my client, and those claims are subject
to discovery. The document requests go to those claims, and not only my client’s copyright claims. Not only was your
production deficient as to responding to each request, but as I set forth in my 1/25/2021 email, even the documents that
were produced were incomplete, where email chains were missing entries, attachments were missing, and more. The
deposition will not be going forward without a significant and meaningful supplemental.

Further, what was produced in response to subpoenas has no bearing on your client’s discovery obligations.

Please respond to my 1/25/2021 email, letting me know what you are agreeing to produce and what you are not so that I
can determine whether I need to take these issues to Judge Talwani. Only after we resolve these issues will we be able to
move on to depositions.



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From: Drew Epstein <photolaw@aol.com>
Sent: Monday, February 8, 2021 7:13:35 PM
To: Elovecky, Suzanne M. <selovecky@psh.com>; mgreene@boyleshaughnessy.com
<mgreene@boyleshaughnessy.com>
Subject: Re: [EXTERNAL] Larson v Dorland-Perry - Notice of Deposition


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I sent your email to my client and asked that she put everything you requested on a smart drive. There
are many documents on the drive most of which are copies of the short story.

Thousands of pages of documents have been provided to you through document production and
subpoenas. I am not going to ask my client to search for any more documents other than the ones I
produced previously and the ones I just mailed to you and Matthew. A search for more documents, even
if they exist will take an unreasonable amount of time and money to fulfill.

The reasonable needs of this case and your client’s claim that will amount to no more than minimal
damages, cannot possibly justify the search for or the production of any more documents. Dorland
simply did not register the copyright to her letter until well after my client is alleged to have infringed
it. Thus, under Section 412, she has no claim to statutory damages or attorney’s fees. Ms. Larson has
earned only a few hundred dollars in fees for every version of her story. The amount Ms. Larson has
earned would constitute the totality of damages Dorland could possibly claim if she can prove
infringement.

Drew Epstein
Cell: (617) 272-5700


-----Original Message-----
From: Elovecky, Suzanne M. <selovecky@psh.com>
To: Drew Epstein <photolaw@aol.com>; mgreene@boyleshaughnessy.com <mgreene@boyleshaughnessy.com>
Sent: Mon, Feb 8, 2021 6:45 pm
Subject: Re: [EXTERNAL] Larson v Dorland-Perry - Notice of Deposition

Drew,

Does the thumb drive include documents identified in my January 25, 2021 email?



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                       Suzanne M. Elovecky
                       Counsel
                       Partridge Snow & Hahn LLP
                       30 Federal St.
                       Boston, MA 02110
                       t: (857) 214-3097 ∙ f: (617) 292-7910
                       selovecky@psh.com
                       Learn more about our lawyers at psh.com




From: Drew Epstein <photolaw@aol.com>
Sent: Monday, February 8, 2021 6:44:08 PM
To: Elovecky, Suzanne M. <selovecky@psh.com>; mgreene@boyleshaughnessy.com
<mgreene@boyleshaughnessy.com>
Subject: [EXTERNAL] Larson v Dorland-Perry - Notice of Deposition

Dear Suzanne and Matt:

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  Today, I mailed to each of you a thumb drive containing the additional electronic documents that
Suzanne requested at our recent 7.1 conference.

I am also attaching a notice of deposition for Dawn Dorland Perry. I scheduled the deposition to start at
noon to accommodate the three hour time difference in California.

Drew Epstein

Andrew D. Epstein
Barker, Epstein & Loscocco
176 Federal Street
Boston, MA 02110
(617) 272-5700
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